Case: 1:20-cv-01184 Document #: 24 Filed: 08/01/22 Page 1 of 9 PageID #:183
Case: 1:20-cv-01184 Document #: 24 Filed: 08/01/22 Page 2 of 9 PageID #:184
Case: 1:20-cv-01184 Document #: 24 Filed: 08/01/22 Page 3 of 9 PageID #:185
Case: 1:20-cv-01184 Document #: 24 Filed: 08/01/22 Page 4 of 9 PageID #:186
Case: 1:20-cv-01184 Document #: 24 Filed: 08/01/22 Page 5 of 9 PageID #:187
Case: 1:20-cv-01184 Document #: 24 Filed: 08/01/22 Page 6 of 9 PageID #:188
Case: 1:20-cv-01184 Document #: 24 Filed: 08/01/22 Page 7 of 9 PageID #:189
Case: 1:20-cv-01184 Document #: 24 Filed: 08/01/22 Page 8 of 9 PageID #:190
Case: 1:20-cv-01184 Document #: 24 Filed: 08/01/22 Page 9 of 9 PageID #:191
